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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                                                :
              v.                                :    Case No. 22-mj-229 (MAU)
                                                :
MACSEN RUTLEDGE,                                :
                                                :
        Defendant.                              :

       STATUS REPORT AND UNOPPOSED MOTION TO CONTINUE STATUS
                            CONFERENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits the following Joint Status Report.     The parties also

respectfully move the Court to continue the Status Conference currently scheduled for January 17,

2023 for a period of approximately 60 days, and to exclude the intervening time under the Speedy

Trial Act. In support of the Motion, the parties represent:

   1. The defendant is before the Court charged in a criminal complaint with: Entering and

       Remaining in a Restricted Building, in violation of Title 18, United States Code, §

       1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building, in violation of

       Title 18, United States Code, § 1752(a)(2); Disorderly Conduct in a Capitol Building, in

       violation of Title 40, United States Code, § 5104(e)(2)(D); and Parading, Demonstrating,

       or Picketing in a Capitol Building, in violation of Title 40, United States Code, §

       5104(e)(2)(G) (ECF No. 1).

   2. The government is preparing a discovery production and further time is needed to process

       and produce the discovery.
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      3. The parties believe it is in the interest of justice to toll the Speedy Trial Act while the

         government continues to provide discovery. The parties thus request a tolling of the

         Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A), based on the factors described in

         18 U.S.C. 3161(h)(7)(B)(i), (ii), and (iv), as well as 18 U.S.C. § 3161(h)(1)(G).

      4. Therefore, the parties request the January 17, 2023 Status Conference be continued for

         approximately 60 days, and that there is an exclusion of time under the Speedy Trial Act

         from January 17, 2023, through the next scheduled Status Conference.

      5. The defendant is out of custody.

      6. The defendant concurs with this request.


         Respectfully submitted,

         MATTHEW M. GRAVES
         United States Attorney

By:           /s/
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